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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT


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 APRIL TAFT,                                                                     Civil Action No:
                                                                                 3:17-cv-01748-JAM
                                                  Plaintiff,




           -v.-
 EQUIFAX INFORMATION SERVICES, LLC and
 DIVERSIFIED CONSULTANTS, INC.,

                                              Defendants.
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                                       NOTICE OF SETTLEMENT
                                         AS TO ALL PARTIES

          Notice is hereby given that the parties have settled this matter. The parties anticipate

completing settlement documents and filing a dismissal with the Court within the next sixty (60)

days. The parties request that the Court retain jurisdiction of this case during said sixty (60) day

period.



DATED, this 30th day of July, 2018

                                                                      /s/Yaakov Saks
                                                               Yaakov Saks, Esq.
                                                               STEIN SAKS, PLLC
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                                                               Hackensack, NJ 07601
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                                                               Attorney for Plaintiff April Taft


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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
on July 30, 2018 with the Clerk of Court using CM/ECF. I also certify that the foregoing document
is being served this day on all counsel of record or pro se parties identified on the Service List
below either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
other authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filing.



                                               /s/ Yaakov Saks
                                               Yaakov Saks, Esq.




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